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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK
                                   WHITE PLAINS

Elizabeth Russett, individually and on behalf                       7:21-cv-08572
of all others similarly situated,
                                  Plaintiff,

                    - against -                                Class Action Complaint

Kellogg Sales Company,
                                                                Jury Trial Demanded
                                  Defendant

       Plaintiff alleges upon information and belief, except for allegations pertaining to plaintiff,

which are based on personal knowledge:


       1.      Kellogg Sales Company (“defendant”) manufactures, labels, markets, and sells

“Whole Grain Frosted Strawberry Toaster Pastries” under its Pop-tarts brand (“Product”).
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        2.      The packaging only depicts strawberries, in words and images, and shows the

Product’s bright red filling, matching the color of strawberries.

        3.      The strawberry representations are misleading because the Product has less

strawberries than consumers expect based on the labeling.

I.    CONSUMERS VALUE STRAWBERRIES

        4.      Research shows that consumers are eating fewer meals and more snacks.

        5.      Many consumers seek snacks which are a “healthy indulgence,” which is a “a treat

with all the flavor and taste desired, without the guilt of eating something ‘bad’ for you,” due to

the presence of ingredients known to confer positive health benefits.1

        6.      Defendant is aware that a greater percentage of consumers are eating more snacks

and emphasizes the importance of valued fruit ingredients to make up for what people don’t get

enough of at meals.

        7.      Strawberries are the world’s most popular berry fruit.

        8.      The USDA reports that “Americans now consume twice as many strawberries as they

did two decades ago.”2

        9.      Consumers seek strawberries for their nutritive properties, because according to

WebMD, they can “protect your heart, increase HDL (good) cholesterol, lower your blood

pressure, and guard against cancer.”3

        10.     These benefits are because strawberries have one of the highest levels of nutrient-

density of all fruits, and more nutrients than pears and apples, among other fruits.


1
  FONA International, Trend Insight: Indulgence, November 28, 2018.
2
  The California Strawberry Commission, Consumer Trends: American Strawberry Consumption Doubles, May 7,
2013.
3
  Andrea Gabrick, Nutritional Benefits of the Strawberry, WebMD.com; María Teresa Ariza, et al. "Strawberry
achenes are an important source of bioactive compounds for human health." International journal of molecular
sciences 17.7 (2016): 1103.


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          11.   Strawberries are “an excellent source of vitamin C,” as one serving provides more

vitamin C than an orange.4

          12.   Vitamin C is an antioxidant necessary for immune and skin health.

          13.   Strawberries have uniquely high levels of antioxidants known as polyphenols,

micronutrients that naturally occur in plants.5

          14.   These polyphenols include flavonoids, ellagitannins, flavanols and phenolic acid.6

          15.   Polyphenols prevent or reverse cell damage caused by aging and the environment,

which is linked to greater risk of chronic diseases.

          16.   It is not just consumers’ subjective preferences which value strawberries over other

fruits.

          17.   Market price data confirms strawberries are the most expensive of the major fruits

tracked by the Bureau of Labor Statistics (“BLS”) in its research on consumer prices.

          18.   According to recent data from the USDA, pears are $1.552 per pound, while

strawberries, at $2.318 per pound, are almost fifty (50) percent more expensive.




4
  Adda Bjarnadottir, MS, RDN, Strawberries 101: Nutrition Facts and Health Benefits, Healthline.com, March 27,
2019; Sadia Afrin, et al. "Promising health benefits of the strawberry: a focus on clinical studies." Journal of
agricultural and food chemistry 64.22 (2016): 4435-4449.
5
  Tamara Y. Forbes-Hernandez, et al. "The healthy effects of strawberry polyphenols: which strategy behind
antioxidant capacity?" Critical reviews in food science and nutrition 56.sup1 (2016): S46-S59.
6
  Francesca Giampieri, et al. "Strawberry consumption improves aging-associated impairments, mitochondrial
biogenesis and functionality through the AMP-activated protein kinase signaling cascade." Food chemistry 234
(2017): 464-471; Francesca Giampieri, et al. "The healthy effects of strawberry bioactive compounds on molecular
pathways related to chronic diseases." Annals of the New York Academy of Sciences 1398.1 (2017): 62-71.


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        19.    According to BLS, apples are typically between $1.20 and $1.50 per pound while

strawberries are no less than between $2 and $4 per pound.7




7
 Stephen B. Reed, “Slicing through fruit price volatility,” Beyond the Numbers: Prices and Spending, Vol. 3:28,
Bureau of Labor Statistics, December 2014.


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II.      STATE AND FEDERAL REGULATIONS REQUIRE FRONT LABEL TO
         DISCLOSE THAT FRUIT FILLING IS MOSTLY NON-STRAWBERRIES

         20.   Federal and identical state regulations require a product’s front label to contain a

common or usual name which accurately identifies or describes, “in as simple and direct terms as

possible, the basic nature of the food or its characterizing properties or ingredients.” 21 C.F.R. §

102.5(a) compare with New York Agriculture and Markets Law (“AML”), 1 N.Y.C.R.R. 259.1

(“Packaging and labeling of food.”) (adopting FDA labeling requirements).

         21.   Whether the fruit content of a toaster pastry includes only strawberries, mostly

strawberries or merely some strawberries, and mostly contains other less-valued fruit ingredients,

is basic front label information consumers rely on when making quick decisions at the grocery

store.

         22.   Strawberries are the Product’s characterizing ingredient, since their amount has a

material bearing on price and consumer acceptance, and consumers expect they are present in an

amount greater than other fruits.

         23.   The Product’s common or usual name of “Whole Grain Frosted Strawberry Toaster

Pastries,” is false, deceptive, and misleading, because it contains mostly non-strawberry fruit

ingredients.




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   Ingredients: Whole wheat flour, sugar, corn syrup, enriched flour (wheat flour, niacin,

   reduced iron, vitamin B1 [thiamin mononitrate], vitamin B2 [riboflavin], folic acid),

   dextrose, soybean and palm oil, bleached wheat flour, polydextrose, glycerin. Contains

   2% or less of fructose, wheat starch, calcium carbonate, salt, leavening (sodium acid

   pyrophosphate, baking soda), vegetable juice for color, dried pears, dried apples, dried

   strawberries, sodium stearoyl lactylate, citric acid, modified wheat starch, DATEM,

   cornstarch, gelatin, xanthan gum, brown rice syrup, paprika extract color, soy lecithin,

   vitamin A palmitate, niacinamide, reduced iron, vitamin B6 (pyridoxine hydrochloride),

   vitamin B2 (riboflavin), vitamin B1 (thiamin hydrochloride).


       24.    The sixteenth, seventeenth and eighteenth ingredients are “dried pears, dried apples,

[and] dried strawberries.”

       25.    Because the relative amounts of the ingredients are determined based on their order

of predominance by weight, the Product’s filling contains more pears than strawberries, and more

apples than strawberries. See 21 C.F.R. § 101.4(a)(1).

       26.    The amount of strawberry ingredients is insufficient not merely to provide the

nutrient benefits of strawberries but to provide a strawberry taste.



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       27.    The Product’s name is misleading because strawberries are its characterizing

ingredient, yet the labeling fails to disclose the Product merely attempts to taste like strawberries,

provided Defendant can in good faith claim that this taste characterizes the Product, i.e., “Natural

Strawberry Flavored Whole Grain Frosted Toaster Pastries.” 21 C.F.R. § 101.22(i)

       28.    The Product’s name is required to, but fails, to include the percentage of the

characterizing strawberry ingredients, vis-à-vis the pear and apple, or non-strawberry ingredients,

because the amount of strawberries has a material bearing on price and consumer acceptance. 21

C.F.R. § 102.5(b).

       29.    One examples of this disclosure could be, “Whole Grain Frosted Strawberry Toaster

Pastries – 80% Non-Strawberry, 20% Strawberry.” 21 C.F.R. § 102.5(b).

       30.    The Product’s name, “Whole Grain Frosted Strawberry Toaster Pastries,” is

misleading because it includes “Strawberry,” but does not include pears and apples, even though

the fine print of the ingredient list reveals the presence of more of these fruits than strawberries.

21 C.F.R. § 101.18(b).

       31.    Toaster pastries which contain strawberries as their exclusive or predominant filling

ingredient are not a rare or pricy delicacy that would make a reasonable consumer “double check”

the relative amount of the strawberries by scouring the packaging and performing “mental math.”

       32.    These toaster pastries exist in the marketplace and are not technologically or

otherwise unfeasible to produce.

       33.    Moreover, competitor frosted toaster pastries from Great Value (Walmart) and

Clover Valley (Dollar Tree) are described as “Strawberry,” with pictures of strawberries, but they

put consumers on notice that they have less strawberries than consumers would otherwise expect,

through the statement, “Naturally & Artificially Flavored.”




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       34.    Consumers seeing Defendant’s Product, exclusively promoting strawberries, and not

disclosing the greater individual amounts of pears and apples, and the more “restrained” or truthful

labeling of competitors, will purchase Defendant’s Product, believing it is higher quality than it is.


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          35.    The FDA has consistently warned companies that fail to describe their products with

a non-misleading, common, or usual name:

                   Your Sour Cherry Juice (two unique brand names) and Sour
                   Grape Juice (four unique brand names) products are
                   misbranded within the meaning of section 403(i)(1) of the
                   Act [21 U.S.C. § 343(i)(1)] because the statement of identity
                   does not bear an accurate common or usual name. According
                   to 21 CFR 102.33(a), for a carbonated or noncarbonated
                   beverage that contains less than 100 percent and more than
                   0 percent fruit or vegetable juice, the common or usual name
                   shall be a descriptive name that meets the requirements of 21
                   CFR 102.5(a).8

          36.    The marketing and sale of foods which are advertised as containing a greater amount

of strawberries than promised, is not an unknown issue.

          37.    In the fall of 1960, the FDA seized a shipment of “Strawberry Bars” where:

                   [S]trawberries, had been in whole or in part omitted or abstracted
                   therefrom; 402(b) (4) – figs and dates had been mixed or packed
                   with the articles so as to increase their bulk or weight and make them
                   appear of greater value than they were; and 403(a)-the label
                   statements and the label vignettes depicting whole fresh fruit,
                   apricots and strawberries, were false and misleading as applied to an
                   article (Apricot Bars) containing no apricots, and an article
                   (Strawberry Bars) containing a mixture of figs and dates and some
                   strawberries.

                   FDA, Notices of Judgment, No. 28302, “Fruit Bars,” F.D.C. No.
                   45358, E. Dist. Mich., July 11, 1961.

          38.    The Product is unable to confer any of the health-related benefits of strawberries

because the amount of strawberries is insufficient to provide the benefits of this fruit.

III. LABEL’S RELATIVELY TRUTHFUL “WHOLE GRAIN” STATEMENTS
     CREATE EXPECTATION THAT OTHER STATEMENTS WILL BE TRUTHFUL

          39.    The front label states, “Made With Whole Grain” in large capital letters.

          40.    In whole grain flour, all three parts of the grain are used as opposed to enriched flour,


8
    FDA Warning Letter, Shemshad Food Products, Inc., W/L 28-11, March 11, 2011.


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which only uses the endosperm.

        41.     Surveys have confirmed that consumers increasingly seek products made with whole

grains because they contain more fiber than refined white flour.9

        42.     Specifically, these findings indicate that:

        •     At least half of consumers expect that for every gram of whole grain per serving, there

              will be at least a gram of fiber;

        •     Two‐thirds of consumers (67%) agree that whole grain foods are high in fiber;

        •     Use of a whole grain claim is equivalent to a representation that the product will

              predominantly be made with whole grains; and

        •     75% of consumers who observe claims that a product is made with, or contains whole

              grain flour, will expect the food to be at least a good source of fiber.


        43.     The 2015 Dietary Guidelines for Americans recommended that at least half of the

grains in a healthy diet should be whole grains.10

        44.     Consistent with the Product’s “whole grain” claim, the Product contains (1) almost

twenty percent of the daily value of fiber per serving and (2) its predominant ingredient is “Whole

wheat flour,” while “enriched flour” is a distant fourth, after “sugar [and] corn syrup.”

        45.     While consumers would be alright with trusting Defendant’s “whole grain” claim,

they would be wrong in trusting the “strawberry” claims.




9
  FDA-2006-D-0298-0016, Exhibit 1a - "A Survey of Consumers Whole Grain & Fiber Consumption Behaviors, and
the Perception of Whole Grain Foods as a Source of Dietary Fiber" - [Kellogg Company - Comment] (July 1, 2010);
Docket ID: FDA-2006-D-0298, Guidance for Industry and FDA Staff: Whole Grains Label Statements.
10
   U.S. DEP’T OF AGRIC. AND U.S. DEP’T OF HEALTH & HUMAN SERVS., Dietary Guidelines for Americans
2015–2020 (8th ed. 2015), available at http://goo.gl/qnyfLi (click “A Closer Look Inside Healthy Eating Patterns”
under “Chapter 1. Key Elements of Healthy Eating Patterns”).


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IV.   ADDED COLOR FURTHERS DECEPTION AS TO STRAWBERRY CONTENT

       46.    The Product’s filling is shown on the front label as red, the color of strawberries.

       47.    According to the head of a prominent flavor and color manufacturer, “Color is the

first thing a consumer may consider when purchasing a food or beverage item.”

       48.    To give consumers the false impression that the Product contains more strawberries

than it does, it includes “vegetable juice for color” and “paprika extract color.”

       49.    This causes the mainly pear and apple filling to look red, like it would if it contained

more strawberries, even though it contains a de minimis or negligible amount of strawberries.

       50.    Without the added coloring, consumers would be suspect of a product labeled as only

having strawberries, because the filling’s color would be lighter instead of the red color.

       51.    This could cause consumers to inspect the ingredient list to determine the truth.

       52.    Additionally, according to the trade publication Food Processing, the addition of

vegetable juice to color the fruit filling is “considered artificial since the [vegetable juice] is not

inherent to the strawberry.”

       53.    However, the Product does not reveal the addition of this artificial coloring anywhere

on the labeling other than the ingredient list, even though it is required to.

V.    CONCLUSION

       54.    Reasonable consumers must and do rely on a company to honestly identify and

describe the components, attributes, and features of a product, relative to itself and other

comparable products or alternatives.

       55.    By labeling the Product in this manner, Defendant gained an advantage against other

companies, and against consumers seeking to purchase a product with more of the named

ingredient than it contained.




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       56.   The value of the Product that plaintiff purchased was materially less than its value as

represented by defendant.

       57.   Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

       58.   Had Plaintiff and proposed class members known the truth, they would not have

bought the Product or would have paid less for it.

       59.   The Product is sold for a price premium compared to other similar products, no less

than approximately $4.79 per box of six pouches of two pastries six pastries (20.3 oz or 576g), a

higher price than it would otherwise be sold for, absent the misleading representations and

omissions.

       60.   Similar whole grain frosted toaster pastries which have equivalent amounts of

strawberries to Defendant’s Product are, or would be sold for, approximately $4.09 per box of six

pouches of two pastries six pastries (20.3 oz or 576g).

                                            Jurisdiction and Venue

       61.   Jurisdiction is proper pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28

U.S.C. § 1332(d)(2).

       62.   The aggregate amount in controversy exceeds $5 million, including any statutory

damages, exclusive of interest and costs.

       63.   Plaintiff Elizabeth Russett is a citizen of New York.

       64.   Defendant Kellogg Sales Company is a Delaware corporation with a principal place

of business in Battle Creek, Calhoun County, Michigan.

       65.   Plaintiff and defendant are citizens of different states.

       66.   Defendant transacts business within this district, through the marketing, supply, and




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sales of its products at stores of all kinds within this district and causes the Product to be sold to

citizens of this district.

         67.   Venue is in this district because plaintiff resides in this district and the actions giving

rise to the claims occurred within this district.

         68.   Venue is in the White Plains division of this District because a substantial part of the

events or omissions giving rise to the claim occurred in Dutchess County, i.e., Plaintiff’s purchase

of the Product and her awareness of the issues described here.

                                                 Parties

         69.   Plaintiff Elizabeth Russett is a citizen of Beacon, Dutchess County, New York.

         70.   Plaintiff likes strawberries for the same reason they are America’s number one berry

fruit.

         71.   Defendant Kellogg Sales Company, is a Delaware corporation with a principal place

of business in Battle Creek, Michigan, Calhoun County.

         72.   Defendant is one of the largest food manufacturers in the world.

         73.   Defendant's founding was based upon its desire to improve the health of medical

patients, leading to the innovative corn flakes cereal.

         74.   For over a hundred years, parents and their children have grown up trusting Kellogg's

products, as they are part of the fabric of American life.

         75.   Defendant is known as a pioneer of breakfast and snack foods – Special K, Corn

Flakes, Nutri-Grain Bars, BelVita, and Pop-Tarts, among other items.

         76.   Defendant maintains a great amount of trust and goodwill from consumers.

         77.   The Product is sold at tens of thousands of locations – schools, grocery stores, drug

stores, big box stores, religious groups, cafeterias, convenience stores, etc. – and online.




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       78.   The Product is sold in various quantities including (1) packets containing one or two

toaster pastries, and (2) boxes which contain ten individually-wrapped toaster pastries or six

packages of two toaster pastries.

       79.   Plaintiff purchased the Product on one or more occasions within the statutes of

limitations for each cause of action alleged, at stores and locations which may include Walmart,

26 W Merritt Blvd, Fishkill, NY 12524, between 2020 and 2021, among other times.

       80.   Plaintiff bought the Product because she expected it had a greater absolute and

relative amount of strawberries because that is what the front label said.

       81.   Plaintiff relied on the word, “Strawberry,” the pictures of strawberries, the red filling,

the trusted brand name, and the other representations identified here.

       82.   Plaintiff bought the Product at or exceeding the above-referenced price.

       83.   Plaintiff expected the Product had more strawberry than it did and certainly did not

expect more pears and apples, individually, than strawberries.

       84.   Plaintiff was misled by the dark red color of the filling shown on the front label.

       85.   Plaintiff relied on the whole grain claim, which was true, and had no reason to expect

that the strawberry claim was not true.

       86.   Plaintiff would not have purchased the Product if she knew the representations were

false and misleading or would have paid less for it.

       87.   Plaintiff chose between Defendant’s Product and other similar products which were

represented similarly, but which did not misrepresent their attributes and/or lower-priced products

which did not make the statements and claims made by Defendant.

       88.   The Product was worth less than what Plaintiff paid and she would not have paid as

much absent Defendant's false and misleading statements and omissions.




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       89.    Plaintiff intends to, seeks to, and will purchase the Product again when she can do so

with the assurance that Product's representations are consistent with its composition.

       90.    Plaintiff is unable to rely on the labeling of this, and other Kellogg products, which

means she buys less Kellogg’s food than before being aware of this issue.

       91.    Plaintiff wants to resume purchasing Kellogg products in the same amount as she

previously did.

                                           Class Allegations

       92.    Plaintiff seeks certification under Fed. R. Civ. P. 23(b)(2) and (b)(3) of the following

classes:

                  New York Class: All persons in the State of New York who
                  purchased the Product during the statutes of limitations for
                  each cause of action alleged.

                  Consumer Fraud Multi-State Class: All persons in the
                  States of Kansas, Wyoming, and Delaware, who purchased
                  the Product during the statutes of limitations for each cause
                  of action alleged

       93.    Common questions of law or fact predominate and include whether defendant’s

representations were and are misleading and if plaintiff and class members are entitled to damages.

       94.    Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair and deceptive representations and actions.

       95.    Plaintiff is an adequate representative because her interests do not conflict with other

members.

       96.    No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       97.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.



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       98.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       99.    Plaintiff seeks class-wide injunctive relief because the practices continue.

                    New York General Business Law (“GBL”) §§ 349 & 350

                                  (Consumer Protection Statute)

       100. Plaintiff incorporates by reference all preceding paragraphs.

       101. Plaintiff and class members desired to purchase a product that had a greater absolute

and relative amount of strawberries.

       102. Defendant’s false and deceptive representations and omissions are material in that

they are likely to influence consumer purchasing decisions.

       103. Defendant misrepresented the Product through statements, omissions, ambiguities,

half-truths and/or actions.

       104. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

       105. Defendant misrepresented the Product through statements, omissions, ambiguities,

half-truths and/or actions.

       106. Plaintiff relied on the representations and omissions that the Product characterizing

ingredient was strawberries, and had the benefits associated with that ingredient.

       107. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                              Violation of State Consumer Fraud Acts

                      (On Behalf of the Consumer Fraud Multi-State Class)


       108. The Consumer Fraud Acts of the States in the Consumer Fraud Multi-State Class



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prohibit the use of unfair or deceptive business practices in the conduct of trade or commerce.

       109. Defendant intended that plaintiff and each of the other members of the Consumer

Fraud Multi-State Class would rely upon its deceptive conduct, and a reasonable person would in

fact be misled by this deceptive conduct.

       110. As a result of defendant’s use or employment of artifice, unfair or deceptive acts or

business practices, plaintiff, and each of the other members of the Consumer Fraud Multi-State

Class, have sustained damages in an amount to be proven at trial.

       111. In addition, defendant’s conduct showed malice, motive, and the reckless disregard

of the truth such that an award of punitive damages is appropriate.

                                   Breaches of Express Warranty,
                              Implied Warranty of Merchantability and
                        Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       112. The Product was manufactured, identified, and sold by defendant and expressly and

impliedly warranted to plaintiff and class members that it had a greater absolute and relative

amount of strawberries.

       113. Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.

       114. This duty is based on Defendant’s outsized role in the market as a trusted brand and

the pioneer of breakfast food, a literal household name, such that consumers trust it to be honest.

       115. Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers, and their employees.

       116. Defendant received notice and should have been aware of these issues due to

complaints by regulators, competitors, and consumers, to its main offices.

       117. The Product did not conform to its affirmations of fact and promises due to

defendant’s actions and was not merchantable because it was not fit to pass in the trade as


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advertised.

        118. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                       Negligent Misrepresentation

        119. Defendant had a duty to truthfully represent the Product, which it breached.

        120. This duty is based on defendant’s position, holding itself out as having special

knowledge and experience in this area, as the inventor of breakfast foods and a force for good in

the development of Americans’ diets.

        121. The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in defendant, the leading company in the area of breakfast foods.

        122. Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, their purchase of the

Product.

        123. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                               Fraud

        124. Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that it had a greater absolute and relative amount of strawberries.

        125. Moreover, the records Defendant is required to maintain, and/or the information

inconspicuously disclosed to consumers, provide it with actual and/or constructive knowledge of

the falsity of the representations.

        126. Defendant’s fraudulent intent is evinced by its knowledge that the Product was not

consistent with its representations.




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                                         Unjust Enrichment

       127. Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the

       applicable laws;

   4. Awarding monetary damages, statutory and/or punitive damages pursuant to any statutory

       claims and interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

       experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: October 19, 2021
                                                           Respectfully submitted,

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